                                                                                         Case 2:20-cv-00884-SPL Document 117 Filed 07/25/22 Page 1 of 3



                                                                                   1    Tracy A. Miller, SBN 015920
                                                                                        Douglas (Trey) Lynn, SBN 028054
                                                                                   2
                                                                                        OGLETREE, DEAKINS, NASH, SMOAK
                                                                                   3    & STEWART, P.C.
                                                                                        2415 East Camelback Road. Suite 800
                                                                                   4    Phoenix, AZ 85016
                                                                                   5    Telephone: 602.778.3700
                                                                                        Facsimile: 602.778.3750
                                                                                   6    tracy.miller@ogletree.com
                                                                                        trey.lynn@ogletree.com
                                                                                   7
                                                                                        Attorneys for Defendant Matrix Absence
                                                                                   8    Management Inc.
                                                                                   9
                                                                                                                 UNITED STATES DISTRICT COURT
                                                                                   10
                                                                                                                  DISTRICT OF ARIZONA
                                                                                   11   Tina Weeks, Michael McDonald, and      No. 2:20-CV-00884-SPL
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                   12   Cassandra Magdaleno,
                                                                                                    Plaintiffs,                DEFENDANT MATRIX ABSENCE
                                                                                   13         v.                               MANAGEMENT INC.’S MOTION
                                                                                        Matrix Absence Management Inc.,        TO STRIKE PLAINTIFFS’ FILINGS
                                                                                   14
                                                                                                    Defendant.
                                                 Esplanade Center III, Suite 800
                                                   2415 East Camelback Road




                                                                                   15
                                                   Telephone: 602-778-3700
                                                       Phoenix, AZ 85016




                                                                                   16
                                                                                               Defendant Matrix Absence Management Inc. (“Matrix”) respectfully moves the
                                                                                   17
                                                                                        Court for an order striking (1) Plaintiffs’ Motion for Class Certification [ECF #113], (2)
                                                                                   18
                                                                                        Plaintiffs’ Memorandum of Law in Support of Motion for Class Certification [ECF # 114],
                                                                                   19
                                                                                        and (3) Plaintiffs’ Response to Defendant’s Motion for Decertification [ECF #116]
                                                                                   20
                                                                                        pursuant to Local Rule LRCiv 7.2(e)(1) and the Court’s Case Management Order.
                                                                                   21
                                                                                               Local Rule LRCiv 7.2(e)(1) provides:
                                                                                   22
                                                                                   23          Unless otherwise permitted by the Court, a motion including its supporting
                                                                                               memorandum, and the response including its supporting memorandum, may
                                                                                   24          not exceed seventeen (17) pages, exclusive of attachments and any required
                                                                                   25          statement of facts.

                                                                                   26   The Court’s Case Management Order [ECF # 52] provides that, “[c]itations in support of
                                                                                   27   any assertion in the text shall be included in the text, not in footnotes.”
                                                                                   28
                                                                                         Case 2:20-cv-00884-SPL Document 117 Filed 07/25/22 Page 2 of 3



                                                                                   1           On July 7, 2022, the Court entered an order striking motions filed by both parties
                                                                                   2    for violations of the above-listed rules. The Court gave the parties until July 12, 2022 to
                                                                                   3    cure the deficiencies and refile the motions. Matrix cured the identified deficiencies and
                                                                                   4    refiled its motion to decertify collective action on July 8, 2022. [ECF # 112.] Plaintiffs

                                                                                   5    refiled their Motion for Class Certification and accompanying memorandum on July 12,
                                                                                        2022. [ECF # 114, 115.] However, Plaintiffs did not cure any of the deficiencies identified
                                                                                   6
                                                                                        by the Court’s July 7, 2022 Order. Plaintiffs’ motion and memorandum exceeded 17 pages,
                                                                                   7
                                                                                        and almost all of the cited authority is contained in footnotes rather than within the body
                                                                                   8
                                                                                        of the text. Plaintiff’s Response to Defendant’s Motion for Decertification was filed on
                                                                                   9
                                                                                        July 22, 2022. Like Plaintiff’s Motion, this filing also contains the same deficiencies
                                                                                   10
                                                                                        identified in the Court’s July 7, 2022 Order. The Response spills over onto the 18th page
                                                                                   11
                                                                                        and almost all of the cited authority is contained in footnotes rather than within the body
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                   12
                                                                                        of the text.
                                                                                   13
                                                                                               “For violations of the local rules, sanctions may be imposed including, in
                                                                                   14
                                                                                        appropriate cases, striking the offending pleading.” Smith v. Frank, 923 F.2d 139, 142 (9th
                                                 Esplanade Center III, Suite 800
                                                   2415 East Camelback Road

                                                   Telephone: 602-778-3700




                                                                                   15
                                                                                        Cir. 1991). Here, the Court has already sua sponte stricken both parties’ motions for
                                                       Phoenix, AZ 85016




                                                                                   16
                                                                                        violating the Court’s local rules and case management order. The Court allowed both
                                                                                   17
                                                                                        parties to refile their motions in compliance with the local rules. Matrix complied with the
                                                                                   18
                                                                                        Court’s order, but Plaintiffs did not. Thus, Plaintiffs have disregarded the Court’s local
                                                                                   19
                                                                                        rules and case management order after being warned about the consequences of their failure
                                                                                   20
                                                                                        to comply. Therefore, striking the offending pleadings without the right to refile is an
                                                                                   21
                                                                                        appropriate sanction.
                                                                                   22
                                                                                               For the above reasons, Matrix Absence Management Inc. respectfully requests that
                                                                                   23
                                                                                        the Court strike Plaintiffs’ Motion to Motion for Class Certification Under FRCP 23 [ECF
                                                                                   24
                                                                                        #113], Plaintiffs’ Memorandum of Law in Support of Motion for Class Certification Under
                                                                                   25
                                                                                        FRCP 23 [ECF # 114], and Plaintiffs’ Response to Defendant’s Motion for Decertification
                                                                                   26
                                                                                        of Collective Action [ECF #116] without the right to refile.
                                                                                   27
                                                                                   28
                                                                                                                                     2
                                                                                        Case 2:20-cv-00884-SPL Document 117 Filed 07/25/22 Page 3 of 3



                                                                                   1        RESPECTFULLY SUBMITTED this 25th day of July 2022.
                                                                                   2
                                                                                                                         OGLETREE, DEAKINS, NASH,
                                                                                   3
                                                                                                                         SMOAK & STEWART, P.C.
                                                                                   4
                                                                                                                         By: /s/ Tracy A. Miller
                                                                                   5                                         Tracy A. Miller
                                                                                   6                                         Douglas (Trey) Lynn
                                                                                                                             2415 East Camelback Road, Suite 800
                                                                                   7                                         Phoenix, AZ 85016
                                                                                                                             Attorneys for Defendant Matrix Absence
                                                                                   8                                         Management Inc.
                                                                                   9
                                                                                   10
                                                                                   11
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                   12
                                                                                   13
                                                                                   14
                                                 Esplanade Center III, Suite 800
                                                   2415 East Camelback Road

                                                   Telephone: 602-778-3700




                                                                                   15
                                                       Phoenix, AZ 85016




                                                                                   16
                                                                                   17
                                                                                   18
                                                                                   19
                                                                                   20
                                                                                   21
                                                                                   22
                                                                                   23
                                                                                   24
                                                                                   25
                                                                                   26
                                                                                   27
                                                                                   28
                                                                                                                            3
